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                                                  United States District Court
                                                              Southern District of Florida
                                                                      MIAMI DIVISION

 UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE

 v.                                                                           Case Number - 1:10-20763-CR-LENARD(s)-6

 EDISON GOMEZ MOLINA
                                                                              USM Number: 01589-104

                                                                              Counsel For Defendant: Jose-Carlos Villanueva
                                                                              Counsel For The United States: Michael Nadler
                                                                              Court Reporter: Carly Horenkamp
 ___________________________________



 The defendant pleaded guilty to Count(s) 1 of the Indictment.
 The defendant is adjudicated guilty of the following offense(s):

          TITLE/SECTION                                      NATURE OF
             NUMBER                                           OFFENSE               OFFENSE ENDED                             COUNT

   21 U.S.C. § 963                                Conspiracy to Distribute           February 10, 2012                          1
                                                  Five Kilograms or more
                                                  Cocaine Intending
                                                  Unlawfully to Import into
                                                  the USA

 The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
 Sentencing Reform Act of 1984.

 It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
 If ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
 circumstances.

                                                                                        Date of Imposition of Sentence:
                                                                                        February 4, 2014



                                                                                        ________________________________
                                                                                        JOAN A. LENARD
                                                                                        United States District Judge

                                                                                        February 4, 2014
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 DEFENDANT: EDISON GOMEZ MOLINA
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                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term
 of 63 months.

 The Court makes the following recommendations to the Bureau of Prisons:

              Defendant be placed in a facility in South Florida or Georgia to allow family visitation

 The defendant is remanded to the custody of the United States Marshal.




                                                               RETURN

 I have executed this judgment as follows:




 Defendant delivered on ____________________ to _________________________________

  at _____________________________________________, with a certified copy of this judgment.


                                                                                     __________________________________
                                                                                          UNITED STATES MARSHAL


                                                                                 By:__________________________________
                                                                                             Deputy U.S. Marshal
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 DEFENDANT: EDISON GOMEZ MOLINA
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                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years.

 The defendant must report to the probation office in the district to which the defendant is released within 48 hours of release from
 the custody of the Bureau of Prisons.

 The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter, as determined by the court.

              The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

              The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
 conditions on the attached page.

                                                STANDARD CONDITIONS OF SUPERVISION

 1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
 2.           The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4.           The defendant shall support his or her dependents and meet other family responsibilities;
 5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
              reasons;
 6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
 7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
              substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
              unless granted permission to do so by the probation officer;
 10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
              contraband observed in plain view by the probation officer;
 11.          The defendant shall notify the probation officer within forty-eight (48) hours of being arrested or questioned by a law enforcement officer;
 12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
              of the court; and
 13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
              or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
              compliance with such notification requirement.
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                                                   SPECIAL CONDITIONS OF SUPERVISION

              The defendant shall also comply with the following additional conditions of supervised release:

 Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of imprisonment,
 the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement for removal proceedings
 consistent with the Immigration and Nationality Act. If removed, or the defendant voluntarily leaves the United States he shall
 not reenter the United States without the prior written permission of the Secretary of Homeland Security. The term of supervised
 release shall be non-reporting while the defendant is residing outside the United States. If the defendant reenters the United States
 within the term of supervised release, the defendant is to report to the nearest U.S. Probation Office within 48 hours of the
 defendant’s arrival.
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                                                        CRIMINAL MONETARY PENALTIES


        The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
 Payments sheet.

                  Total Assessment                                    Total Fine                                     Total Restitution

                            $100                                            $                                                  $



 *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

               A. Lump sum payment of $100 due immediately, balance due


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
 is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

               U.S. CLERK’S OFFICE
               ATTN: FINANCIAL SECTION
               400 NORTH MIAMI AVENUE, ROOM 8N09
               MIAMI, FLORIDA 33128-7716

 The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
 Attorney’s Office are responsible for the enforcement of this order.



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
